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BEFORE: STEVEN I. LOCKE                                                DATE: 8/8/22
UNITED STATES MAGISTRATE JUDGE                                         TIME: 3:15 pm

              CRIMINAL CAUSE FOR BAIL REVOCATION HEARING

DOCKET No. CR 21-0452(JS) USA v. Maxwell

DEFENDANT: Willie Junior Maxwell II   DEF. # 3
☒ Present ☐ Not Present     ☐ Custody ☒ Bail
DEFENSE COUNSEL: Elizabeth Macedonio
☐ Federal Defender   ☐ CJA                          ☒       Retained

A.U.S.A.: Andrew Wenzel
INTERPRETER: ()
PRETRIAL:
FTR LOG : 3:15 – 3:25         MAGISTRATE DEPUTY: RG

☒    Case called        ☒   Counsel for all sides present

☐ Waiver of Speedy Indictment/Trial executed; time excluded from                through

☐    Order Setting Conditions of Release and Bond entered.

☒    Bail Hearing held. Disposition:

☒ Permanent Order of Detention entered.
☒    Next Court appearance scheduled for

Defendant ☐ Released on Bond; ☒           Remanded. In Custody.

OTHER: Motion for bail revocation granted. See attached Order.
